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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                     4:13CR3115

       vs.
                                                    DETENTION ORDER PENDING TRIAL
JUSTIN LEE ORSTAD,

                      Defendant.

        After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), the
court concludes the defendant must be detained pending trial.

        There is a rebuttable presumption that no condition or combination of conditions of
release will reasonably assure the defendant’s appearance at court proceedings and the safety of
the community because there is probable cause to believe the defendant committed a drug crime
under the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. The defendant has not rebutted this presumption.

        Specifically, the court finds that the defendant has a criminal record which indicates a
propensity to violate the law and orders of the court; has threatened harm to others; has limited
contacts with the community; has failed to appear for court proceedings in the past; and no
conditions or combination of conditions are currently available which will sufficiently ameliorate
the risks posed if the defendant is released.


                                   Directions Regarding Detention

        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of United
States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.

       November 4, 2013.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
